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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                                Case No. 22-cv-12951
                                                     Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

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                         APPEARANCE OF E. POWELL MILLER

       PLEASE TAKE NOTICE that E. Powell Miller of The Miller Law Firm, P.C. hereby enters

his Appearance on behalf of Defendant, Wayne County, in the above-captioned matter. Please

serve all notices, copies of pleadings, papers and other relevant materials upon the undersigned.
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                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/E. Powell Miller
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                                               County
Dated: May 3, 2023




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                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                                 Case No. 22-cv-12951
                                                      Hon. Mark A. Goldsmith
       Plaintiffs,

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STATE OF MICHIGAN, et al.,

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                                      PROOF OF SERVICE

       E. Powell Miller certifies that on May 3, 2023, he caused to be served Notice of Appearance

of E. Powell Miller and this Proof of Service upon all counsel of record via electronic filing system.

                                                              /s/ E. Powell Miller
                                                              E. Powell Miller
Dated: May 3, 2023
